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                                                             7                              UNITED STATES DISTRICT COURT

                                                             8                                    DISTRICT OF NEVADA

                                                             9     TIARE RAMIREZ, an individual;               Case No: 2:19-cv-01174-APG-DJA

                                                             10                     Plaintiff,                 STIPULATION AND ORDER TO EXTEND
                                                                   vs.                                         DEADLINE FOR PLAINTIFF TO
                                                             11                                                RESPOND TO DEFENDANT’S MOTION
                                                                   WYNN LAS VEGAS, LLC; DOES I                 FOR SUMMARY JUDGMENT (ECF No.
                                                             12    through X; and ROE Corporations XI          57)
GABROY LAW OFFICES

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                                                                   through XX, inclusive;
                      170 S. Green Valley Pkwy., Suite 280




                                                             13
                           Henderson, Nevada 89012




                                                                                     Defendant.
                                                             14

                                                             15       STIPULATION AND ORDER TO EXTEND DEADLINE FOR PLAINTIFF TO
                                                                   RESPOND TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT (ECF No. 57)
                                                             16

                                                             17           The parties by and through their respective attorneys of record, hereby stipulate

                                                             18   to a forty-five (45) day extension through February 3, 2022 for Plaintiff Tiare Ramirez

                                                             19   (“Plaintiff”) to respond to Defendant Wynn Las Vegas, LLC’s (“Defendant”) Motion for

                                                             20   Summary Judgment (ECF No. 57).

                                                             21          Defendant filed its Motion for Summary Judgment (ECF No. 57) on November 29,

                                                             22   2021. Plaintiff’s response is currently due on December 20, 2021. Plaintiff has requested

                                                             23   the extension and Defendant has agreed to the request.

                                                             24          Good cause exceedingly exists for such extension. Unfortunately, Plaintiff’s trial

                                                             25   counsel’s immediate family member suffered a medical emergency, requiring intubation.

                                                             26   Such individual remains under supervised care, and unfortunately has very recently

                                                             27   received an unfavorable diagnosis. This family emergency has necessarily required a

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                                                             1    great deal of Plaintiff’s trial counsel’s time and attention. Further, Plaintiff’s counsel has

                                                             2    previously-planned travel obligations to an outside jurisdiction that he is licensed in and

                                                             3    maintains an office in (Chicago, IL) during the interim.

                                                             4           Accordingly, the parties agree that Plaintiff’s response to Defendant’s Motion for

                                                             5    Summary Judgment (ECF No. 57) shall be due on February 3, 2022.

                                                             6           This request is not sought for any improper purpose or other reason of delay. No

                                                             7    party is prejudiced by the requested extension.

                                                             8            IT IS SO STIPULATED.

                                                             9    Dated: November 30, 2021                 Dated: November 30, 2021
                                                             10   Respectfully submitted,                   Respectfully submitted,
                                                             11
                                                                  /s/ Christian Gabroy                       /s/ Kelsey E. Stegall
                                                             12
GABROY LAW OFFICES




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                                                             14   Attorneys for Plaintiff                   Attorneys for Defendant
                                                             15

                                                             16
                                                                         IT IS SO ORDERED.
                                                             17

                                                             18
                                                             19                                      _________________________________________
                                                                                                     UNITED STATES DISTRICT JUDGE
                                                             20                                      DATE: December 1, 2021
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